
798 So.2d 889 (2001)
M.N., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 4D01-369.
District Court of Appeal of Florida, Fourth District.
November 7, 2001.
*890 Carey Haughwout, Public Defender, and Siobhan Helene Shea, Assistant Public Defender, West Palm Beach, for appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and Bart Schneider, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
We affirm the trial court's ruling adjudicating appellant delinquent, but reverse his sentence. Appellant was found guilty of a third degree felony carrying a maximum adult sanction of five years in prison. The court's disposition order placed appellant in a level six residential treatment program but did not specify maximum allowable time. As the state concedes, commitment to the Department of Juvenile Justice and community service is limited to the maximum adult term or to the date of the juvenile's twenty-first birthday, whichever occurs first. See R.P. v. State, 695 So.2d 490, 490 (Fla. 4th DCA 1997). We therefore vacate the disposition order and remand with instructions to specify the period of commitment, not to exceed the maximum adult sentence for the charge.
GUNTHER, WARNER and GROSS, JJ., concur.
